    2:18-mn-02873-RMG           Date Filed 07/18/23      Entry Number 3420        Page 1 of 5




                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

                                                       MDL No. 2873
 IN RE: AQUEOUS FILM-FORMING FOAMS                   )
 PRODUCTS LIABILITY LITIGATION                       )
                                                       Master Docket Case No. 2:18-mn-2873-RMG
                                                     )
                                                     )
                                                       and 2:23-cv-03147-RMG
 ROOSEVELT COUNTY WATER COOP,                        ) Case No. 2:23-cv-02612-RMG
 INC.                                                )
                                                     )
                        Plaintiff,                   )
                                                     )
           v.                                        )
                                                     )
 3M COMPANY (f/k/a Minnesota Mining and              )
 Manufacturing Co.), et al.,                         )
                                                     )
                        Defendants.                  )

JOINDER IN MOTION FOR EXTENSION AND, IN THE ALTERNATIVE, RESPONSE
IN OPPOSITION TO MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT

   Pursuant to Local Rule 6.01, and 7.01, Plaintiff Roosevelt County Water Coop, Inc.

(“Roosevelt County Coop”), by and through its undersigned counsel, hereby joins the Motion for

Extension of Time to File Response/Reply to the Motion for Settlement filed by various States

on July 14, 2023 (Doc. No. 3405). In the alternative, Roosevelt County Coop, hereby responds

to the Motion for Settlement (Preliminary Approval Motion) (Doc. No. 3370) as follows:

   I.       JOINDER IN STATES’ MOTION

   On July 14, 2023, fourteen states, with additional states expected to join, filed a motion for

extension of time to file responses/objections to the motion for preliminary approval of a

purported class settlement and for an order directing the notice of class settlement be

disseminated (the “Motion for Preliminary Approval” or the “Motion”), which was filed by

certain public water systems represented by MDL leadership counsel (Doc. 3370). The States
    2:18-mn-02873-RMG               Date Filed 07/18/23          Entry Number 3420             Page 2 of 5




request that additional time to respond to the Motion for Preliminary Approval be extended by

14 days from July 17, 2023 to July 31, 2023. The States’ motion sets forth the numerous good

reasons that additional time is needed for putative class members to review the voluminous

settlement documents and, if necessary, respond in fulsome to the Motion for Preliminary

Approval. Like the States, Roosevelt County Coop and other public water systems and

purported Eligible Claimants under the proposed settlement agreement need sufficient time to

evaluate the settlement agreement before notice of the settlement is disseminated and the

attendant deadlines within the settlement agreement are triggered. Roosevelt County Coop has

not previously requested an extension. Accordingly, Roosevelt County Coop respectfully joins

the States’ motion and requests additional time to respond to Plaintiffs’ Motion for Preliminary

Approval. 1

    II.       INITIAL RESPONSE TO MOTION FOR PRELIMINARY APPROVAL OF

              SETTLEMENT

In the event the Court does not permit Roosevelt County Coop’s joinder to allow it and other

putative class members additional time to respond, Roosevelt County Coop hereby offers this

preliminary response and objection to the Motion for Preliminary Approval (Doc 3370).

Through this initial response, Roosevelt County Coop seeks to bring one narrow, but critically

important issue to the Court’s attention. While Roosevelt County Coop has not had the

opportunity to fully evaluate the voluminous settlement agreement, and accordingly reserves its

right to raise additional objections in the event the Court does permit additional time to respond,

Roosevelt County Coop hereby requests that the Court—prior to ordering preliminary approval

of the settlement and disseminating the notice—require the notice to be altered to allow putative


1
 As Roosevelt County Coop was preparing to file this Joinder and Response, the Court granted in part the States’
Motion, extending the response time by seven days to July 24, 2023. (See Doc. No. 3408).


                                                        2
       2:18-mn-02873-RMG         Date Filed 07/18/23       Entry Number 3420          Page 3 of 5




class members more than the currently proposed 60 days to object to the settlement and to opt

out.

         Under sections 8.2, 8.4, and 8.5 of the proposed settlement, notice is to be sent to putative

class members within 14 days of preliminary approval. Thereafter, under sections 8.4 and 8.5,

respectively, putative class members are given only 60 days after notice is disseminated to object

to any portion of the proposed settlement and to opt out. Sixty days is far too short given what is

at stake in this litigation for public entities (large and small) to fully evaluate the terms of the

settlement, consult with necessary advisors to determine the settlement’s effect on each unique

public entity, and then to assert any objections, and, if necessary, make a decision as to whether

it will opt out. This is especially so because most of the thousands of public water systems that

are ostensibly bound by the settlement are not represented by counsel and are likely entirely

unaware of the settlement.

         Moreover, once a public entity becomes aware of the settlement and retains outside

counsel or other advisors to assist in analyzing the settlement, the analysis that must be

performed by each public entity to determine whether the settlement is in its best interests is

further complicated by the fact that the “allocation analysis” loosely described in the documents

supporting leadership Plaintiffs’ Motion for Preliminary Approval has not been articulated or

explained in sufficient detail to allow putative class members to make an informed decision

about whether they should opt out of the settlement. Roosevelt County Coop (and other Eligible

Claimants and putative class members) will need a sufficient amount of time to perform this

analysis. For all public water suppliers, much more information about the allocation analysis and

other factors impacting the ultimate settlement terms will be necessary to allow for a prudent

decision that protects each public entity’s constituents. Additional terms of the settlement




                                                   3
    2:18-mn-02873-RMG           Date Filed 07/18/23      Entry Number 3420         Page 4 of 5




agreement, including for example, the mechanism for reductions of the overall settlement pool

for items such as other settlements and attorneys’ fees, will also require additional time to

analyze.

       Accordingly, Roosevelt County Coop respectfully requests that this Court, prior to

providing preliminary approval of the settlement, requires the time periods set forth in the

settlement notice for putative class members to object to the settlement and to opt-out of

the settlement be enlarged to no less than 180 days.



Dated: July 17, 2023                                  Respectfully submitted,

                                                      /s/ Christopher R. Rodriguez
                                                      Christopher R. Rodriguez
                                                      SINGLETON SCHREIBER, LLP
                                                      1414 K Street, Suite 470
                                                      Sacramento, CA 95814
                                                      Tel: (916) 256-2312
                                                      Fax: (619) 255-1515
                                                      crodriguez@singletonschreiber.com
                                                      Attorneys for Plaintiff




                                                 4
    2:18-mn-02873-RMG            Date Filed 07/18/23       Entry Number 3420       Page 5 of 5




                                  CERTIFICATE OF SERVICE

        I, Christopher R. Rodriguez, hereby certify that on July 17, 2023, the foregoing document

was filed via the Court’s CM/ECF system, which will automatically serve and send email

notification of such filing to all registered attorneys of record.



                                                        /s/ Christopher R. Rodriguez
                                                        Christopher R. Rodriguez
